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FOR THE WESTER_N DISTRICT OF TENNESSEE

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WD- OF-' ‘I"N, :t.»u£a'\)!pl~ué
IINITED STATES OF AMERICA, *
Plaintiff, *
v. * CR No. 21030r20239-B
MARTY JONES, *
Defendant. *

 

ORDER GRANTING MO'I`ION 'I`O CONTINUE SENTENCING HEARING

 

Before this court is defendant’s motion to continue sentencing hearing, filed June 17,

2005. For good cause shown and With agreement from the government, the motion is
GRANTED. The hearing Will be reset by separate noti of this court.
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lt is 50 0RDERED this 10"` day of< :¢- ,2005.

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J. DANIEL BREEN \
D STATES DISTRiCT COURT

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with P\u\e

UNITED sTATE DISIC COURT - WESERNT D's'TRCT oFTENNESSEE

   
 

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Honorable J. Breen
US DISTRICT COURT

